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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 GAWAIN BAXTER et al.,
    Plaintiffs,

              v.                               Case No.: 8:22-cv-00986-TPB-JSS

 DAVID MISCAVIGE et al.,
       Defendants.
 _____________________________/

  PLAINTIFFS’ RESPONSE TO DAVID MISCAVIGE’S OBJECTION TO THE
   ORDER GRANTING IN PART AND DENYING IN PART PLAINTIFFS’
           MOTION FOR ORDER DECLARING MISCAVIGE
              SERVED WITH PROCESS AND IN DEFAULT

       On February 14, 2023, Magistrate Judge Sneed entered an order deeming

 Defendant David Miscavige served but denying Plaintiffs’ motion to declare him in

 default, instead holding that he shall respond to Plaintiffs’ Amended Complaint (Dkt.

 79) within 21 days. Dkt. 170 (the “Order”). Because that Order is neither clearly

 erroneous nor contrary to law, this Court should overrule Miscavige’s Objection.

 I.    INTRODUCTION

       Plaintiffs have attempted to serve Miscavige 27 times at multiple locations. At

 a January 20, 2023, hearing on the motion to deem him served (the “Hearing”),

 Magistrate Judge Sneed asked Miscavige’s counsel:

       THE COURT: All right. Are you authorized to inform the plaintiffs
       about whether or not service can be perfected at any particular location?

       MR. TERRY: I'm certainly happy to have those discussions with them[.]

 Exhibit A, Tr. 48:22 – 49:1. But when it came time to have that discussion, Miscavige’s
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 counsel flatly refused to provide an address to Plaintiffs’ counsel. Dkts. 167, 167-5.

       “[T]he fundamental purpose of service is ‘to give proper notice to the defendant

 in the case that he is answerable to the claim of plaintiff[.]’” Shurman v. Atl. Mortg. &

 Inv. Corp., 795 So. 2d 952, 953 (Fla. 2001) (citation omitted). The rules governing

 service exist neither “to create an obstacle course for Plaintiffs,” nor “a cat-and-mouse

 game for defendants[.]” Verizon Trademark Servs., LLC v. Producers, Inc., No. 8:10-CV-

 665-T-33EAJ, 2011 WL 3296812, at *4 (M.D. Fla. Aug. 2, 2011).

 II.   RELEVANT FACTS

       Plaintiffs bring this action pursuant to the Trafficking Victims Protection

 Reauthorization Act (“TVPRA”), 18 U.S.C. §§ 1581–1597, against Miscavige and five

 corporate Scientology Defendants. Dkt. 79 ¶¶ 1–2. Plaintiffs allege that Defendants

 violated the TVPRA through a trafficking venture resulting in forced labor and other

 TVPRA offenses against Plaintiffs. Id. ¶¶ 2, 95, 116, 118, 163. Plaintiffs further allege

 Defendants “knowingly obtained valuable benefits [such as] financial enrichment, and

 free labor and services, like construction work, landscaping, and food preparation at

 [Defendants’] ‘Flag Base,’ in Clearwater, Florida, and aboard the Freewinds.” Id. ¶ 2.

       Scientology “is organized and operates through a global network of

 corporations, trusts, and unincorporated associations and organizations.” Id. ¶ 26.

 Miscavige is Scientology’s leader, the Chairman of the Board of RTC, and the head of

 Scientology’s Sea Org, “an unincorporated ‘association’ of individuals,” whose

 members staff and manage all Scientology-related entities. Id. ¶¶ 16–17, 25, 28.

 Plaintiffs allege that this arrangement makes Miscavige “effectively the senior-most
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 officer of [all of Scientology] regardless of whether he is listed as an officer or director

 in their corporate filings.” Id. ¶ 16. As such, Miscavige controls and directs the

 management of all Scientology’s operations at a considerable level of detail. Id. ¶ 25.

        With respect to the corporate Defendants, Plaintiffs allege that RTC is a

 California entity that is the main “management, security, and enforcement operation

 for Scientology.” Id. ¶ 18. CSI is a non-profit California corporation. Id. ¶ 19. CSI and

 Miscavige control several trusts, including the Flag Ship Trust, which owned the

 company that owned the Freewinds during the relevant time period. Id. ¶¶ 19, 39.

 Through CSI, Miscavige conducts “substantial business” by licensing Scientology

 intellectual property and collecting licensing fees at multiple Florida locations. Id. ¶

 19. RTC and CSI also serve as Scientology’s principal “command channels” — chains

 of command that run directly between Miscavige at the top and local operations of

 various affiliated entities below, like Defendants FSO and FSSO. Id. ¶¶ 18, 19, 28, 34.

 Within CSI, a group of personnel known as the Commodore’s Messenger

 Organization, or “CMO,” report directly to Miscavige. Id. ¶¶ 30, 33. RTC and CMO

 embed personnel within other entities’ management and operational centers, who only

 report to officers in RTC and CMO. Id. ¶¶ 28, 33. These direct reporting lines give

 RTC and CMO personnel – and Miscavige – authority superior to the corporate

 managers, and they exercise that power to monitor operations, direct the management

 of the entities, and enforce Scientology’s rigid disciplinary system. Id. ¶¶ 30, 34-36.

        Below RTC and CSI are FSO and FSSO. FSO owns, manages, and operates

 numerous properties in Clearwater, including Flag Base, which serves as
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 “Scientology’s global hub of operations and its largest source of revenues, providing

 (among other things) temporary quarters for visiting Scientologists, facilities for classes

 and auditing sessions, dining and meeting facilities, and the center where Defendants

 host large gatherings[.]” Id ¶ 20. Defendant FSSO is a not-for-profit corporation with

 its principal place of business in Clearwater, Florida that operates the Freewinds. Id. ¶

 21. RTC and CMO officers on the Freewinds direct its operations. Id. ¶ 39. FSSO also

 collects fees from members of the International Association of Scientologists (IAS) for

 courses, services, and programs provided on the Freewinds. Id. ¶ 21.

        The final Defendant is IASA, a Delaware corporation, headquartered in

 California, with offices and operations in Clearwater, Florida. As with RTC and CSI,

 Miscavige directly controls IASA. Id. ¶ 22. During the relevant time, 2005 to 2014,

 IASA’s principal place of business was in Clearwater. Id. Among other things, IASA

 collects membership dues – in part through its operations on the Freewinds (id. ¶ 22) —

 and administers and transfers those funds under the exclusive direction of Miscavige.

 Like the other affiliates, IASA is staffed solely with Sea Org members. Id.

        Taken together, these “Organizational Defendants” have continuous and

 systematic business activities in Florida, either through the purchase and management

 of real estate (id. ¶¶ 17, 20), the collection and disbursement of membership dues (id.

 ¶¶ 22–23), or the hosting of events and fundraising (id. ¶¶ 19–21), and are directly

 controlled by Miscavige individually and serve as his agents. Id. ¶ 17.

 III.   PROCEDURAL BACKGROUND

        On April 28, 2022, Plaintiffs filed their Complaint against Miscavige and the
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 Organizational Defendants, alleging that Miscavige controls Scientology corporate entities

 and the Sea Org, and that Miscavige directs these entities to extract forced labor. Dkt. 1. On

 August 2, Plaintiffs filed their First Amended Complaint, adding allegations concerning

 Miscavige’s deliberate attempts to evade service. Dkt. 79.1 On August 31, Plaintiffs moved

 for an issuance of a summons directed to Miscavige (Dkt. 93) which the Court granted (Dkt.

 97). On October 10, Plaintiffs filed a Declaration of Compliance with Florida Statute § 48.161

 for Substitute Service on Miscavige (Dkt. 141) and a Supplemental Declaration of

 Compliance with Florida Statute § 48.161 on December 5 (Dkt. 151). On December 13,

 Plaintiffs moved for an order declaring Miscavige served, pursuant to Florida Statute § 48.161,

 and in default. Dkt. 152 (the “Motion”). Within twenty-four hours, Miscavige’s attorney

 entered a limited appearance to challenge the Motion. Dkt. 153. Miscavige’s opposition

 focused on arguments that Plaintiffs had failed to personally serve him and had served him at

 the incorrect address. Dkt. 163.

        On January 20, 2023, the Court held the Hearing on the Motion. Before, during, and

 after the Hearing, Plaintiffs continued their attempts to effectuate service on Miscavige

 through his counsel and other identified addresses, and have sought to have Miscavige’s

 counsel provide an address at which to effectuate service. Dkt. 167. Miscavige’s counsel has

 declined. Dkt. 167-5. Miscavige has never “provided a personal declaration regarding his

 residence, place of business or activities in Florida.” Order at 16 n.7.

        On February 14, Magistrate Judge Sneed granted the Motion in part, deeming


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   These attempts are outlined in Plaintiffs’ motions for extensions of the deadline to effect
 service upon Miscavige (Dkt. 76, 98), the First Amended Complaint (Dkt. 79 ¶¶ 7-15),
 Plaintiffs’ Affidavit of Compliance with Fla. Stat. § 48.161 (Dkt. 141 and attached exhibits,
 particularly Dkt. 141-4), and Plaintiffs’ Supplemental Declarations of Compliance with Fla.
 Stat. § 48.161 (Dkt. 151, 167, 169).
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 Miscavige properly served through substitute service pursuant to Rule 4 and Florida statutes

 § 48.181 and § 48.161, but denying Plaintiffs’ motion to find Miscavige in default, instead

 giving him twenty-one days to respond to the Amended Complaint. Order at 12. Magistrate

 Judge Sneed found that Plaintiffs demonstrated the requisite due diligence in attempting to

 locate Miscavige such that they are entitled to use Florida’s substitute service statutes (id. at

 12-15); Plaintiffs have adequately demonstrated facts sufficient to bring Miscavige within the

 purview of § 48.181 (id. at 15); and Plaintiffs complied with the procedural requirements for

 substitute service listed in § 48.161 (id. at 24).2 In analyzing § 48.181, Magistrate Judge Sneed

 found that: Miscavige is a nonresident for purposes of § 48.181 (id. at 17);3 Plaintiffs

 sufficiently alleged that Miscavige operates, conducts, engages in, or carries on a business

 venture in Florida or has an office or agency in the state (id. at 17) and operated or conducted

 a business venture in Florida in his individual capacity and for his own pecuniary gain (id. at

 18-19); and the allegations here arise out of an operation incidental to Miscavige’s business

 or business venture in Florida (Order at 22). On February 28, Miscavige filed the Objection.

 IV.     STANDARD OF REVIEW

         This Court may modify or vacate a magistrate judge’s order if it “is clearly

 erroneous or is contrary to law.” Fed. R. Civ. P. 72(a). “The ‘clearly erroneous or




         Miscavige does not object to, and therefore waives any future argument regarding, Magistrate
         2

 Judge Sneed’s findings with respect to Plaintiffs’ due diligence and compliance with § 48.161.
         3
           As the Order limits its finding to the purposes of substitute service, Plaintiffs do not object to
 this finding, as “the distinction does not matter” for purposes of § 48.181 (Order at 16), but reserve
 their right to argue otherwise should Miscavige file a motion to dismiss for lack of personal
 jurisdiction.

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 contrary to law’ standard of review is extremely deferential.” 4 HSBC Bank USA, Nat'l

 Ass'n as Tr. for SG Mortg. Sec. Tr. 2006-OPT2, Asset Backed Certificates, Series 2006-OPT2

 v. Ross, No. 11-CV-2019-T-35TGW, 2014 WL 12866713, at *2 (M.D. Fla. Jan. 6,

 2014); Holton v. City of Thomasville Sch. Dist., 425 F.3d 1325, 1350 (11th Cir. 2005);

 Shands Jacksonville Med. Ctr., Inc. v. Nat'l Union Fire Ins. Co. of Pittsburgh, PA, No. 3:14-

 CV-930-J-34JBT, 2015 WL 12861243, at *1 n.3 (M.D. Fla. Sept. 22, 2015) (“‘contrary

 to law’ is “more deferential than de novo review.”). An order is contrary to law “when

 it fails to apply or misapplies relevant statutes, case law or rules of procedure.” Pigott

 v. Sanibel Dev., LLC, No. 07-0083-WS-C, 2008 WL 2937804, at *5 (S.D. Ala. July 23,

 2008). A finding is “clearly erroneous” when a court is “left with the definite and firm

 conviction that it is wrong.” Branch v. Sec’y, Fla. Dep’t of Corr., 638 F.3d 1353, 1356

 (11th Cir. 2011).

 V.      ANALYSIS

             a. Magistrate Judge Sneed’s Decision Was Procedurally Proper.

         Under the relevant Florida laws, Plaintiffs are under no obligation to file a

 motion to deem a defendant served. Neither § 48.161, § 48.181, nor any other relevant

 statute, requires one (Fla. Stat. §§ 48.161, 48.181 (1995)) and Florida courts have

 deemed defendants served without any such motion. See, e.g., Verizon Trademark Servs.,

 LLC v. Producers, Inc., No. 10-CV-665-T-33EAJ, 2011 WL 3296812, at *1 (M.D. Fla.



         4
          Factual conflicts between the parties should be resolved in favor of Plaintiffs. See, e.g.,
 Codigo Music, LLC v. Televisa S.A. de C.V., No. 15-CV-21737, 2016 WL 11501586, at *4 (S.D. Fla.
 Jan. 15, 2016).

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 Aug. 2, 2011) (deeming defendant served based on amended complaint and motion to

 dismiss for insufficient service of process); Shelley v. State, Dep't of Fin. Servs., 846 So.

 2d 577, 577 (Fla. Dist. Ct. App. 2003) (affirming entry of default judgment without

 motion to deem defendant served under § 48.181); Nova Cas. Co. v. Just Beach Inn, LLC,

 No. 13-60911-CIV, 2013 WL 12086664, at *2 (S.D. Fla. June 27, 2013) (“[A]lthough

 [plaintiff’s] Motion does not specifically identify § 48.181 … [plaintiff] set forth the

 facts that establish [its] applicability[.]”). If the question of whether a defendant has

 been served does arise, to answer that question this Court examines the operative

 complaint. See Order at 9 (quoting Labbee v. Harrington, 913 So. 2d 679, 682 (Fla. 3d

 DCA 2005) (“[Under § 48.181,] ‘the complaint must either plead a basis for jurisdiction

 pursuant to the language of [§ 48.181] or allege sufficient jurisdictional facts to satisfy

 [it].’”) (emphasis added). Thus, to the extent the Court felt the need to ensure that

 Miscavige had been properly served under § 48.161 and § 48.181,5 it properly looked

 to the allegations in Plaintiffs’ Amended Complaint. See, e.g., Order at 18 (citing Dkt.

 79 ¶ 17 as applying language of § 48.181); id. at 12-15 (citing Dkt. 79 ¶¶ 7-12 to show

 Miscavige is concealing his whereabouts); id. at 18-22 (citing Dkt. 79 ¶¶ 16-17, 19, 22

 as showing Miscavige controls corporate Defendants); id. at 20 (citing Dkt. 79 ¶ 2 as



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            Caselaw suggests, under these circumstances, a defendant can be deemed served under
 § 48.161 alone. See U.S. v. Faro, No. 20-CV-769, 2022 WL 111229, at *2 (M.D. Fla. Jan. 12, 2022)
 (“When courts, including this one, have allowed litigants to use Florida Statute section 48.161—
 standing alone, and not in conjunction with any other statute—as authorization for substitute service on
 the Secretary of State, they have required a conscientious investigation to identify and locate the
 defendant and a diligent effort to effect personal service.”) (emphasis added); Order at 12-15 (noting
 Plaintiffs’ due diligence in trying to serve Miscavige, which Miscavige concedes here).

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 alleging Miscavige uses forced labor to maintain luxurious lifestyle and power).

       As such, Miscavige’s objection that the Order is procedurally improper because

 it relies on arguments not made in Plaintiffs’ Motion (Obj. at 9–10) is wrong and falls

 well short of his burden. A plaintiff may use a motion to deem a defendant served as

 an opportunity to illuminate key facts satisfying § 48.161 or § 48.181, but is not

 required to do so (or even file such a motion in the first instance). See U.S. v. Shiffman,

 No. 20-cv-1747, 2021 WL 4208697, at *4 (M.D. Fla. April 16, 2022) (declaring

 defendant served with substitute process due to evasive conduct even though movant

 did not mention § 48.181); Dixon v. Blanc, 796 F. App’x 684, 687 (11th Cir. 2020) (“To

 support substituted service under [§ 48.161], ‘the plaintiff must allege in his complaint

 the ultimate facts bringing the defendant within the purview of the statute.’”)

 (emphasis added). Miscavige cites a host of cases to portray Plaintiffs’ Motion as

 procedurally deficient, but none involves a motion to deem a defendant served at all,

 let alone under § 48.181. See Obj. 9-10. Magistrate Judge Sneed did not commit clear

 error by relying on the allegations in the Amended Complaint.

        Miscavige similarly argues—with no support in the caselaw—that Plaintiffs

 “waived” any argument as to the satisfaction of § 48.181 by not mentioning it in their

 brief. Obj. at 9-10. This is wrong for several reasons: first, as argued above, to

 determine whether § 48.181 is satisfied, the Court is to look at the sufficiency of the

 pleadings; any motion to deem a defendant served is optional in the first place. Thus,

 the applicability of service under § 48.181 cannot be waived by a motion filed by

 plaintiffs. For example, in Shelley, the agency moved for default judgment without ever
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  having moved to deem defendants served. 846 So. 2d at 577. Under Miscavige’s

  theory, moving for default without first moving to deem defendants served under

  § 48.181 would constitute a waiver of service under § 48.181. Instead, the court

  affirmed the agency’s entry of default, implicitly affirming service under § 48.181. Id.

          Second, Defendants first raised § 48.181 in their response, to which no written

  reply is permitted, and the Court properly asked Plaintiffs to respond at the hearing.

  See Exhibit A, Tr. at 7:1-4 (“[Defendants] cite to … 48.181, and you can anticipate

  their arguments and talk about that as well, if you would.”).

          Third, Miscavige’s argument is not timely: not once during the Hearing did any

  of the five defense attorneys present raise any objection to the Court’s discussion of

  § 48.181. Miscavige also declined to argue any waiver in his Opposition to the Motion.

  Dkt. No. 163. “‘[W]hat’s good for the goose is good for the gander’ applies.”6 Idearc

  Media, LLC v. Kravitz L. Grp., P.A., No. 09-CV-2078-T-17, 2010 WL 2802535, at *2

  (M.D. Fla. July 14, 2010). That is, Miscavige waived any such waiver argument.

              b. Magistrate Judge Sneed’s finding that § 48.181 is satisfied on multiple
                 grounds was not contrary to law or clearly erroneous.

          At the heart of § 48.181 is an inquiry into whether the person being served has



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             Similarly, the Court should reject Miscavige’s request to remand the matter to permit him to
  “introduce declarations to dispute the arguments made by Plaintiffs for the first time in the hearing.”
  Obj. at 10 n.4. First, Miscavige could have, and declined to, request leave from the Court – either at
  the Hearing or in any subsequent filings before the ruling – to supplement the record. Second,
  Miscavige’s claim that the Court relied on materials presented for the first time at the hearing is
  overstated: nowhere does he identify any factual evidence first presented at the Hearing, and the Court
  is free to rely on caselaw, even if it is not cited by any party. See, e.g., Int’l Fid. Ins. Co. v. Americaribe-
  Moriarty JV, 906 F.3d 1329, 1338 (11th Cir. 2018) (noting court’s ability to search for relevant caselaw);
  Cooper v. R.J. Reynolds Tobacco Co., 586 F. Supp. 2d 1312, 1319 (M.D. Fla. 2008) (same).

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  “accept[ed] the privilege” to: (1) “operate, conduct, engage in, or carry on a business

  or business venture in the state”;7 (2) “have an office … in the state”;8 or (3) have an

  “agency in the state.” Fla. Stat. § 48.181. The acceptance of such a privilege, under

  § 48.181, “constitute[s] an appointment by [that person] of the Secretary of State … as

  their agent on whom all process in any action or proceeding against them … arising

  out of any transaction or operation connected with or incidental to the business or

  business venture may be served.” Id. Magistrate Judge Sneed found that Miscavige

  accepted that privilege, and thus appointed the Secretary of State to accept process for

  actions that arise out of, are connected with, or are incidental to his business in Florida.

  Order at 15-22. That finding was neither contrary to law nor clear error.

                      i. Magistrate Judge Sneed’s finding that Miscavige has an agency
                         in Florida was not contrary to law or clear error.

          § 48.181 allows substitute service for anyone who “has an … agency in

  Florida.” Fla. Stat. § 48.181. Given allegations of his absolute control over

  Scientology, its affiliates, and its members, the Magistrate Judge properly concluded

  that Miscavige has an agency in Florida. See, e.g., Dkt. No. 79 ¶ 2 (Miscavige has

  “power over every aspect of [Scientology’s] global operations”); id. ¶ 16 (Miscavige

  “control[s] and direct[s] the activities of all Defendant [and is] the highest-ranking Sea


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            A “business venture” connotes “a lesser involvement than” a “business.” Kapila v. RJPT,
  Ltd., No. 2D22-837, 2023 WL 2051156, at *3 (Fla. Dist. Ct. App. Feb. 17, 2023).
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             Having an office in Florida forms an independent basis for satisfying § 48.181, a fact
  Miscavige arguably conceded at the Hearing. See Exhibit A, Tr. at 47:4-8 (“THE COURT: Has he
  ever had … or does he have an office in Florida? MR. TERRY: So the -- the organizations maintain
  offices in Florida. That’s, I think, what the statute means. Is he able to use offices at the organizations?
  Of course.”).

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  Org member, and thus all Sea Org members are subordinate to him and must obey his

  directives without question”); id. (corporate Defendants serve as Miscavige’s agents);

  id. ¶ 25 (Miscavige’s authority is “unlimited and absolute”). Indeed, this Court has

  already determined that, for purposes of § 48.181, Scientology is an agent of its

  leader. See McLean v. Church of Scientology of Cal., 538 F. Supp. 545, 549 (M.D. Fla.

  1982) (“[T]he Hubbards, through their agent the Church, accepted” the privilege under

  § 48.181) (emphasis added). On this finding alone, Magistrate Judge Sneed did not

  commit clear error in concluding that Miscavige is subject to § 48.181. See Order at 17

  (finding § 48.181 satisfied because Miscavige has a Florida agency).

        Miscavige raises several unconvincing objections to the above analysis. First,

  he argues that Plaintiffs have offered, and the Court accepted, only a “naked legal

  conclusion.” Obj. at 15. To the contrary, the facts as pled make clear that Miscavige

  and his corporate and individual subordinates all understand, agree to, and abide by

  his absolute control over their operations. See Identity Stronghold, LLC v. Zeidner, No.

  16-CV-0868, 2017 WL 11616431, at *20 (M.D. Fla. Mar. 27, 2017) (noting that

  complete control supports the finding of an agency relationship).

        Second, Miscavige misreads § 48.181, as much of his remaining argument on

  the agency issue melds together the “business or business venture” prong of § 48.181

  with the agency prong. See, e.g., Obj. 16-17 (“[T]he allegations that … Defendants do

  business in Florida … as Mr. Miscavige’s agents[] are refuted by the record in this

  case.”). But, as explained above, and as is clear from a plain reading of § 48.181, these


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  prongs are distinct, independent bases for justifying substitute service in Florida.

        Third, Miscavige offers a handful of irrelevant distinctions between this case

  and McLean. Miscavige argues first that the Organizational Defendants did not exist

  when McLean was decided. But that is of no moment when the underlying structure of

  Scientology – i.e., the organization’s singular leader totally controls its members –

  remains the same. Likewise, Miscavige’s observation that Scientology was not tax-

  exempt at the time of McLean is wholly immaterial to the questions of control within

  Scientology. Finally, perplexingly, Miscavige notes that, unlike Miscavige today, L.

  Ron Hubbard had no position within Scientology at the time of McLean. Miscavige’s

  argument that his position as Chairman of the Board of RTC somehow suggests he has

  less control of Scientology than Hubbard had makes no sense.

        Finally, Miscavige argues that a determination of the agency relationship

  between Miscavige and Scientology implicates First Amendment concerns because,

  under Supreme Court precedent, “a religion’s determinations of church governance

  must be viewed as final.” Obj. at 18-19. But, tellingly, nowhere in Miscavige’s

  objection does he state that Plaintiffs’ central charge – that Miscavige controls

  Scientology and its affiliates – is wrong. By baldly stating that Scientology’s affiliates

  are not Miscavige’s agents, without explaining any actual limitations to Miscavige’s

  power, it is Miscavige, not Plaintiffs, offering the Court a “naked legal conclusion.”

        Therefore, Miscavige has not – and indeed cannot – carry his burden of showing

  that the Order’s finding that Miscavige has an agency in Florida is clear error.



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                     ii. Magistrate Judge Sneed’s finding that Miscavige engaged in a
                         business venture in Florida was not contrary to law or clear
                         error.

          Under § 48.181, substitute service is also appropriate if the Court finds an

  individual operates, conducts, engages in, or carries on a business or business venture

  in Florida. The Order’s findings that this prong is satisfied are extensive, including

  that: (i) the Amended Complaint contains sufficient allegations that Miscavige

  individually engaged in business in Florida for his personal pecuniary benefit (Order

  at 18-22); (ii) Miscavige is not merely an officer or director of a corporation (Order at

  21); and (iii) the allegations in the Amended Complaint arise out of an operation

  connected with or incidental to Miscavige’s business or business venture in Florida

  (Order at 22). The Court properly grounded each finding in the Amended Complaint.

          Nevertheless, Miscavige challenges these factual findings. See, e.g., Obj. 10

  (“Plaintiffs’ bald allegations … are insufficient to establish service under [§ 48.181].”).9

  First, Miscavige objects that the Order relies on conclusory allegations, misleadingly

  suggesting that the Order is based solely on Paragraph 17 of the Amended Complaint.

  See Obj. at 10. While the Order does invoke that paragraph – which itself includes

  allegations that Miscavige negotiates and directs the purchase of real property in

  Florida and promotes, fundraises for and directs the management and operations of


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            All reasonable inferences should be construed in Plaintiffs’ favor. See, e.g., Order at 12
  (“Where the plaintiff’s complaint and supporting evidence conflict with the defendant’s affidavits, the
  court must construe all reasonable inferences in favor of the plaintiff.”) (quoting Diamond Crystal
  Brands, Inc. v. Food Movers Int’l., Inc., 593 F.3d 1249, 1257 (11th Cir. 2010)). Also, Judge Sneed’s factual
  findings are entitled to a high degree of deference. Fid. Nat'l Title Ins. Co. v. J.P. Morgan Chase Bank,
  N.A., No. 10-CV-1153-J-34JRK, 2012 WL 12965923, at *1 (M.D. Fla. Mar. 26, 2012).

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  Scientology affiliates – it invokes additional factual allegations as well. See, e.g., Order

  at 12-14; 18-22. This differs starkly from David v. BayCare Health Sys., Inc., where the

  plaintiff merely reiterated the language of the statute at issue. No. 19-cv-02136-T-

  60JSS, 2019 WL 6842085, at *3 (M.D. Fla. Dec. 16, 2019).

         Second, Miscavige spills much ink arguing that the Order was improper because

  the business conduct in question “was not undertaken by Mr. Miscavige in his personal

  capacity[.]” Obj. at 12. This charge fails to demonstrate clear error on at least two

  grounds:10 no such showing of a “personal” connection to a business venture is

  required in this District; and, even if it were, the facts support such a finding here.

         To begin, Miscavige mischaracterizes the caselaw governing § 48.181 by

  suggesting there is a rigid “personal capacity” test that must be overcome in applying

  the statute. No such test exists. Rather, Florida authorities have found § 48.181 applies

  on a case-by-case basis. See, e.g., Int’l Graphics, Inc. v. MTA-Travel Ways, Inc., 71 F.R.D.

  598, 602 (S.D. Fla. 1976) (noting Florida courts “have discarded any formal test” for

  service of process “because of the number of conflicting tests that developed” and,

  instead, “each case must turn on its own facts”); Herff v. Weston Props., LLC, 335 So.

  3d 133, 134–35 (Fla. Dist. Ct. App. 2022) (noting an “apparent conflict” in Florida


         10
             Miscavige’s representations in this portion of the Objection appear to be contradicted by
  recently obtained documents. Miscavige claims that it is “not” “true” that he “negotiat[es] and
  direct[s] the purchase of real property in Florida” or that his “‘business contacts within Florida’
  included ‘promoting, fundraising and directing the management and operations of’ Scientology
  organizations.” Obj. at 12-13. But recent news articles state unequivocally that Miscavige has been
  personally lobbying Scientology’s Clearwater real estate development. See Dkt. 167-6 (city council
  member stating that Miscavige called her personal phone). Plaintiffs have also learned through
  Scientology social media postings that Miscavige promoted a New Year’s Eve fundraising event at the
  Flag Base in Clearwater – in the midst of Plaintiffs’ efforts to serve him there. See Exhibit C.

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  court applications of § 48.181). Even A.B.L. Realty Corp. v. Cohl, on which Miscavige

  relies, notes that “each [§ 48.181] case must be judged on its own facts” rather than “a

  mechanical test[.]” 384 So. 2d 1351, 1355-56 (Fla. 4th DCA 1980) (citing Horace v. Am.

  Nat’l Bank and Trust Co., 251 So.2d 33, 34 (Fla. 4th DCA 1971)).

        Moreover, to the extent any “personal capacity” requirement does exist, the

  Order was correct to conclude that Plaintiffs have easily surmounted that low bar here.

  The three cases Miscavige cites to support his position are easily distinguished from

  the facts here. In Farouki v. Attel et Cie, the complaint alleged only that the defendant

  had been “chief executive officer, president, and director of … a Florida corporation.”

  682 So. 2d 1185 (Fla. 4th DCA 1996). In Newberry v. Rife, defendant was a non-Florida

  resident who merely passively held shares in a Florida auto repair company. 675 So.

  2d 684, 685 (Fla. 2d DCA 1996). Finally, in A.B.L. Realty, plaintiffs did not allege that

  the individual defendants had conducted any activity in Florida, but rather merely that

  they worked for the defendant corporation, which had. 384 So. 2d at 1352. In short,

  the only proposition these cases stand for is that substitute service on an individual

  defendant is improper when he has only had vicarious business activity in Florida.

        This is not such a case. The Magistrate Judge carefully evaluated the record to

  determine that Miscavige personally engaged in business in Florida. See Order at 18;

  id. at 19 (Miscavige alleged to control corporate Defendants); id. at 20 n.9 (Miscavige

  failed to refute that he is personally enriched by collection of Scientology dues); id. at

  20 (Scientology provides Miscavige a “façade of legitimacy, a luxurious lifestyle,


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  power … and influence over members”); id. (noting that, because Miscavige is not an

  officer, director, or shareholder of any corporate Defendants except for the RTC, these

  organizations are alleged to be “directly controlled by Miscavige individually”); id. at

  21 (Scientology provides Miscavige work and living accommodations when he is in

  Florida). Thus, Miscavige was not merely a corporate officer, but rather was

  personally “involved in conducting business” in Florida. Order at 21.

         In short, there is no clear error in Magistrate Judge Sneed’s finding that

  Miscavige is sufficiently engaged in business in Florida to be subject to § 48.181.

                   iii. Magistrate Judge Sneed’s Finding That the Claims Here Arise
                        Out of an Operation Incidental to Miscavige’s Business Are
                        Neither Contrary to Law Nor Clear Error.

         Under § 48.181, substitute service is limited to any action “arising out of any

  transaction or operation connected with or incidental to the business or business

  venture.” Fla. Stat. § 48.181. Magistrate Judge Sneed found this requirement satisfied

  because Plaintiffs “specifically allege” that Miscavige “knowingly obtained valuable

  benefits, including but not limited to financial enrichment, and free labor and services,

  like construction work, landscaping, and food preparation at “Flag Base,” in Clearwater,

  Florida, and aboard the Freewinds.” Order at 22 (emphasis in order).11 As the heart of



         11
             The Order noted a host of connections between the forced labor Plaintiffs endured and
  Scientology’s operations in Florida. Plaintiff Gawain Baxter alleges that as a child, he was forced to
  provide hours per day of unpaid work at Flag Base in Clearwater. Order at 23. Plaintiff Valeska Paris
  alleges that, at age 15, she worked sixteen-hour days doing chores and serving as a personal assistant
  to Scientology executives, including Miscavige, at Flag Base. Id. While Miscavige argues these claims
  are time-barred under the TVPRA, he offers no authority stating that they cannot support a finding
  that Miscavige’s conduct in Florida is “incidental to” Plaintiffs’ live claims.

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  Plaintiffs’ claims pertain to their mistreatment aboard the Freewinds, Magistrate Judge

  Sneed properly connected the ship and Miscavige’s business in Florida: for one,

  “[t]here is a U.S. office for the Freewinds in FSSO’s primary business location in

  Clearwater, Florida” Id. at 23. Indeed, the Freewinds’s own website, freewinds.org,

  directs users to the Clearwater office. See Exhibit B. For another, CSI and Miscavige

  “control a number of trusts, including Flag Ship Trust, which among other things owns

  the company that owns [] the Freewinds.” Id. Because this finding was neither contrary

  to law nor clear error, Miscavige’s Objection must be overruled.

        None of Miscavige’s counterpoints demonstrates clear error or a finding

  contrary to law. For one, each of Miscavige’s arguments mistakes the “connected with

  or incidental to” prong as a demanding hurdle. It is not. See, e.g., McLean, 538 F.Supp.

  at 550 (finding malicious prosecution suit was incidental to Scientology’s business

  under § 48.181 simply because malicious prosecution concerned statements about

  Scientology’s Florida activity); Nova Cas. Co., 2013 WL 12086664, at *2 (finding prong

  satisfied simply because complaint alleged “that the claim arises from Defendant’s

  business operations”); Shoei Safety Helmet Corp. v. Conlee, 409 So. 2d 39, 41 (Fla. Dist.

  Ct. App. 1981) (finding prong satisfied because defendants were “in the business of

  promoting and soliciting sales of motorcycle helmets in Florida” when plaintiff bought

  a helmet from an unaffiliated retailer). § 48.181 itself makes this clear, too: both

  “business venture” and “arising from” are broad terms. See supra note 7; Damoth v.

  Reinitz, 485 So.2d 881, 883 (Fla. 2d DCA 1986) (“the term ‘arising from’ is broad”).

        First, Miscavige tries to dispel the relevance of Miscavige’s real estate dealings
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  and fundraising for Scientology in Florida. Obj. at 19 (citing Easy Fly S.A.L. v. Aventura

  Aviation, Inc., No. 10-cv-60247, 2010 WL 4670606, at *5 (S.D. Fla. Nov. 9, 2010)). But

  Magistrate Judge Sneed appears not to have relied at all on Miscavige’s real estate

  dealings and fundraising in Florida to find he satisfies § 48.181.

         Second, remarkably, Miscavige argues that his “alleged receipt of benefits in

  Florida is unconnected to Plaintiffs’ claims.” Obj. at 20. This is wrong on multiple

  fronts. For one, as explained above, control of the Freewinds – which is central to

  Plaintiffs’ claims – runs through Miscavige and Florida. Miscavige controls the FSSO,

  which has offices and staff in Florida and operates the Freewinds. Dkt. 79 ¶ 24.

  Miscavige also controls RTC, CSI, and IASA representatives who work aboard the

  Freewinds. Id. ¶¶ 39, 42, 45. Finally, Miscavige controls the trust that owned the

  company that owned the Freewinds.12 Dkt. 79 ¶ 19. These facts tie Plaintiffs’ claims

  directly to Florida. For another, Miscavige again “reads the Amended Complaint too

  narrowly.” Order at 22. As alleged by Plaintiffs, the benefits Miscavige receives from

  his real estate dealings, fundraising, and other work in Florida, allow him to maintain

  a “façade of legitimacy,” “power over … the organization’s global operations,” and

  “influence over members.” Id. at 20. It is exactly this façade and power that enabled

  Miscavige to exert the abuse against Plaintiffs of which he is accused.

         Third, Miscavige’s argument that none of the Plaintiffs’ claims pertain to abuse



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            The Weber Declaration, which states that ownership of the Freewinds changed hands “a
  decade” ago, carries little water, as this still suggests the Flag Ship Trust owned the Freewinds during
  and in the years after the facts occurred that give rise to Plaintiffs’ claims. See Obj. at 22.

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  they suffered in Florida is of no moment, as their claims need only be incidental to

  Miscavige’s Florida activities.13 See Poston v. Am. President Lines, Ltd., 452 F. Supp. 568,

  572 (S.D. Fla. 1978) (finding that, “though the injury … did not occur in Florida the

  injury was incidental to defendant’s activities in Florida” for purposes of § 48.181).

         Fourth, Miscavige claims Magistrate Judge Sneed committed clear error

  because she reasoned that “any torts alleged to have occurred outside of the United

  States also occurred in Florida.” Obj. at 22. This characterization illustrates a

  fundamental misunderstanding by Miscavige: Magistrate Judge Sneed’s finding

  regarding the Florida Freewinds office did not go to proving that a tort “occurred in

  Florida,” and nor should it, as that is not the relevant legal standard. Rather, as

  Magistrate Judge Sneed correctly noted, the office establishes a “nexus or connection”

  between Miscavige’s business – owning, directing, and controlling the Freewinds – and

  Plaintiffs’ claims. Order at 23 (quoting Nicolet, Inc. v. Benton, 467 So. 2d 1046, 1049

  (Fla. 1st DCA 1985)). See Fashion Two Twenty, Inc. v. Ralph & Reba, Inc., 254 So. 2d 49

  (Fla. Dist. Ct. App. 1971) (holding that corporate franchisor never physically present

  in Florida was “doing business” under § 48.181 because it had control over franchisee).

  VI.    CONCLUSION

         For the foregoing reasons, the Court should overrule Miscavige’s Objection.

                                                        Respectfully Submitted,

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              The same goes for Miscavige’s observations that only one Plaintiff contends she met
  Miscavige, that that interaction was not tortious, and that the Freewinds has never been in Florida
  territorial waters. § 48.181 says nothing about requiring face-to-face tortious conduct or that a ship
  owned, managed, and directed from Florida (Dkt. 79 ¶¶ 19, 24) must have also entered Florida
  territorial waters.

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                             CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was electronically

  filed on March 14, 2023, with the Clerk of Court via the Court’s CM/ECF system

  which will send a notice of electronic filing and copy to all counsel of record.

                                                  /s/ Manuel J. Dominguez
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